       Case 19-16254-amc                  Doc        Filed 07/11/24 Entered 07/11/24 15:51:40                               Desc Main
 Fill in this information to identify the case:      Document      Page 1 of 7
 Debtor 1      __________________________________________________________________


                ________________________________________________________________


 United States Bankruptcy Court for the: __________ District of __________

 Case number    ___________________________________________




                        410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor:                                                                Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                           Date of payment change:
 identify the debtor’s account:                      ____ ____ ____ ____          Must be at least 21 days after date        _____________
                                                                                  of this notice


                                                                                  New total payment:                         $ ____________
                                                                                  Principal, interest, and escrow, if any

 Part 1:    Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
         No
         Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
              the basis for the change. If a statement is not attached, explain why: ___________________________________________
              __________________________________________________________________________________________________

               Current escrow payment: $ _______________                        New escrow payment:         $ _______________


 Part 2:    Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
         No
         Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
              attached, explain why: _______________________________________________________________________________
              __________________________________________________________________________________________________

               Current interest rate:        _______________%                   New interest rate:          _______________%

               Current principal and interest payment: $ _______________        New principal and interest payment: $ _______________


 Part 3:    Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
         No
         Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
              (Court approval may be required before the payment change can take effect.)

               Reason for change: ___________________________________________________________________________________

               Current mortgage payment: $ _______________                      New mortgage payment: $ _______________


Official Form 410S1                                       Notice of Mortgage Payment Change                                             page 1
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Debtor 1         _______________________________________________________                       Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

           I am the creditor.

           I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



     _____________________________________________________________                             Date
                                                                                                       July 11, 2024
                                                                                                       ___________________
     Signature




 Print:             _________________________________________________________                  Title   ___________________________
                    First Name                      Middle Name         Last Name



 Company            _________________________________________________________



 Address            _________________________________________________________
                    Number                 Street

                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      ________________________                                                   Email




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2
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                                                                                  P.O. Box 10826
                                                                                  Greenville, SC 29603
                                                                                  For Inquiries: 866-317-2347
                                                                                                                                                               Final

                                                                                                               Analysis Date:                                      June 13, 2024
       HENRY BEDFORD
       66 CARMELITA DR                                                                                         Property Address:
       RICHBORO PA 18954                                                                                       66 CARMELITA DR
                                                                                                               RICHBORO, PA 18954




                                                Annual Escrow Account Disclosure Statement - Account History
        THIS NOTICE IS BEING PROVIDED PURSUANT TO THE REAL ESTATE SETTLEMENT PROCEDURES ACT AND REGULATION X. TO THE EXTENT THE LOAN
      DESCRIBED BELOW IS INCLUDED IN AN ACTIVE BANKRUPTCY CASE OR IS SUBJECT TO A BANKRUPTCY DISCHARGE, THIS NOTICE IS BEING PROVIDED FOR
           INFORMATIONAL PURPOSES ONLY AND IS NOT A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEBT FROM YOU PERSONALLY

     The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your
     behalf in the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or
     decreases with your escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also
     increase. If the escrow payment decreases, your mortgage payment will decrease.
Payment Information       Contractual     Effective Aug01, 2024         Prior Esc Pmt             May 01, 2024         Escrow Balance Calculation
P & I Pmt:                  $1,305.70                  $1,305.70        P & I Pmt:                    $1,305.70        Due Date:                                       June 01, 2024
Escrow Pmt:                   $800.04                    $796.58        Escrow Pmt:                     $800.04        Escrow Balance:                                    $3,230.91
Other Funds Pmt:                $0.00                      $0.00        Other Funds Pmt:                  $0.00        Anticipated Pmts to Escrow:                        $1,600.08
Asst. Pmt (-):                  $0.00                      $0.00        Asst. Pmt (-):                    $0.00        Anticipated Pmts from Escrow (-):                  $2,430.87
Reserve Acct Pmt:               $0.00                      $0.00        Resrv Acct Pmt:                   $0.00
Total Payment:              $2,105.74                  $2,102.28        Total Payment:                $2,105.74        Anticipated Escrow Balance:                        $2,400.12

Shortage/Overage Information                      Effective Aug01, 2024           Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax
Upcoming Total Annual Bills                                     $8,770.96         amounts or insurance premiums, your escrow balance contains a cushion of
Required Cushion                                                $1,461.83         1,461.83. A cushion is an additional amount of funds held in your escrow in order to
Required Starting Balance                                       $6,340.10         prevent the balance from becoming overdrawn when an increase in the
Escrow Shortage                                                -$3,939.98         disbursement amount occurs. Your lowest monthly balance should not be below
Surplus                                                             $0.00         1,461.83 or 1/6 of the anticipated payment from the account.


      ** Since you are in an ac ve bankruptcy, your new payment shown above is the post-pe on payment amount.
     This is a statement of actual activity in your escrow account from Sept2023 to July 2024. Last year's anticipated activity (payments to and from your
     escrow account) is next to the actual activity.
                         Payments to Escrow                   Payments From Escrow                                                 Escrow Balance
        Date             Anticipated      Actual              Anticipated       Actual                Description                  Required             Actual
                                                                                                Starting Balance                        0.00         (2,292.95)
       Sep 2023                                  513.14                                    *                                            0.00         (1,779.81)
       Nov 2023                                  513.14                                    *                                            0.00         (1,266.67)
       Nov 2023                                  387.80                                    *                                            0.00           (878.87)
       Dec 2023                                  387.80                                    *                                            0.00           (491.07)
       Feb 2024                                  387.80                                    *                                            0.00           (103.27)
       Mar 2024                                  387.80                                    *                                            0.00            284.53
       May 2024                                  800.04                                    *                                            0.00          1,084.57
       May 2024                                2,146.34                                    * Escrow Only Payment                        0.00          3,230.91
                                                                                             Anticipated Transactions                   0.00          3,230.91
       Apr 2024                                           P                       2,430.87   Town Tax                                                   800.04
       Jul 2024                               1,600.08 P                                                                                              2,400.12
                                 $0.00        $7,123.94             $0.00         $2,430.87
       An asterisk (*) indicates a difference from a previous estimate either in the date or the amount . If you want a further explanation, please call our toll -free number.
       P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown .
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                                                                       For Inquiries:      4 of 7
                                                                                      866-317-2347

                                                                                                        Analysis Date:                                  June 13, 2024


                                     Annual Escrow Account Disclosure Statement - Projections for Coming Year
       THIS NOTICE IS BEING PROVIDED PURSUANT TO THE REAL ESTATE SETTLEMENT PROCEDURES ACT AND REGULATION X. TO THE EXTENT THE LOAN
     DESCRIBED BELOW IS INCLUDED IN AN ACTIVE BANKRUPTCY CASE OR IS SUBJECT TO A BANKRUPTCY DISCHARGE, THIS NOTICE IS BEING PROVIDED FOR
          INFORMATIONAL PURPOSES ONLY AND IS NOT A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEBT FROM YOU PERSONALLY

    This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.
    Your unpaid pre-petition escrow Amount is $0.00. This amount has been removed from the projected starting balance.

    Original Pre-Petition Amouont $0.00, Paid Pre-Petition Amount $0.00, Remaining Pre-Petition Amount $0.00.
        Date                Anticipated Payments                                                                               Escrow Balance
                           To Escrow        From Escrow           Description                                           Anticipated           Required
                                                                  Starting Balance                                        2,400.12             6,340.10
    Aug 2024                  730.91         5,069.09             School Tax                                             (1,938.06)            2,001.92
    Sep 2024                  730.91         1,271.00             Hazard                                                 (2,478.15)            1,461.83
    Oct 2024                  730.91                                                                                     (1,747.24)            2,192.74
    Nov 2024                  730.91                                                                                     (1,016.33)            2,923.65
    Dec 2024                  730.91                                                                                       (285.42)            3,654.56
    Jan 2025                  730.91                                                                                        445.49             4,385.47
    Feb 2025                  730.91                                                                                      1,176.40             5,116.38
    Mar 2025                  730.91                                                                                      1,907.31             5,847.29
    Apr 2025                  730.91         2,430.87             Town Tax                                                  207.35             4,147.33
    May 2025                  730.91                                                                                        938.26             4,878.24
    Jun 2025                  730.91                                                                                      1,669.17             5,609.15
    Jul 2025                  730.91                                                                                      2,400.08             6,340.06
                            $8,770.92        $8,770.96
     G – Pending Disbursements prior to the bankruptcy filing date. Pre-petition disbursements.

   (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)

   Your ending balance from the last month of the account history (escrow balance anticipated) is 2,400.12. Your starting
   balance (escrow balance required) according to this analysis should be $6,340.10. This means you have a shortage of 3,939.98.
   This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
   deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 60 months.
   We anticipate the total of your coming year bills to be8,770.96. We divide that amount by the number of payments expected during the coming year to
   obtain your escrow payment.
    New Escrow Payment Calculation                                             Paying the shortage: If you did not have a shortage, your monthly payment would
    Unadjusted Escrow Payment                                   $730.91        be $2,036.61 (calculated by subtracting the Shortage Amount to the left and
    Surplus Reduction:                                             $0.00       rounding, if applicable). Paying the shortage does not guarantee that your
    Shortage Installment:                                        $65.67        payment will remain the same, as your tax or insurance bills may have changed.
    Rounding Adjustment Amount:                                    $0.00
     Escrow Payment:                                             $796.58

                                             Please read the following important notices as they may affect your rights.

Newrez LLC dba Shellpoint Mortgage Servicing is a debt collector. This is an attempt to collect a debt and any information obtained will be used for that
purpose. Newrez LLC dba Shellpoint Mortgage Servicing's NMLS ID is 3013.

If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice is to advise
you of the status of your mortgage loan. This notice constitutes neither a demand for payment nor a notice of personal liability to any recipient hereof,
who might have received a discharge of such debt in accordance with applicable bankruptcy laws or who might be subject to the automatic stay of
Section 362 of the United States Bankruptcy Code.

Attention Servicemembers and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide important protections for you,
including interest rate protections and prohibiting foreclosure under most circumstances during and twelve months after the servicemember’s military or
other service. Counseling for covered servicemembers is available from Military OneSource(800-342-9647) and the United States Armed Forces Legal
Assistance or other similar agencies. For more information, please visit the Military OneSource website www.militaryonesource.mil/.

Notice of Error or Information Request Address
You have certain rights under Federal law related to resolving errors in the servicing of your loan and requesting information about your loan. If you want
to request information about your loan or if you believe an error has occurred in the servicing of your loan and would like to submit an Error Resolution
or Informational Request, please write to us. Additionally, if you believe we have furnished inaccurate information to credit reporting agencies, please
write to us with specific details regarding those errors and any supporting documentation that you have and we will assist you. Error Resolution,
including concerns of inaccurate information sent to credit reporting agencies, or requests for information should be sent to the following address:

Shellpoint Mortgage Servicing
P.O. Box 10826
Greenville, SC 29603

We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account may be reflected
in your credit report.
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A successor in interest is someone who acquires an ownershipDocument                Pageby5a mortgage
                                                            interest in a property secured   of 7 loan by transfer upon the death of a
relative, as a result of a divorce or legal separation, through certain trusts, between spouses, from a parent to a child, or when a borrower who is a joint
tenant or tenant by the entirety dies. If you are a successor in interest, or you think you might be, please contact by phone, mail or email to start the
confirmation process.

Our system of record has your preferred language as English.

If you prefer to receive communication in a language other than English, please contact us at866-317-2347 to speak with a translator in your preferred
language about the servicing of your loan or a document you received.

Si prefiere recibir las comunicaciones en otro idioma que no sea el inglés, por favor, contáctenos en el 866-317-2347 para hablar con un traductor en el
idioma de su preferencia sobre la gestión de su préstamo o cualquier documento que haya recibido.

如果您要使用英语以外的其他语言进行交流，请致电                                            866-317-2347，我们将根据您首选的语言安排相应的译员，与您就贷款服务事项或您所接
收的文件进行商讨。

Please note that we operate as Newrez Mortgage LLC dba Shellpoint Mortgage Servicing in Arkansas and Texas.
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                                 UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF PENNYSLVANIA
-------------------------------------------------------------------X
                                                                  :
                                                                  : CASE NO.: 19-16254
  IN RE:                                                          :
                                                                  : CHAPTER: 13
  Henry Bedford,                                                  :
   aka Andrei Losev                                               : HON. JUDGE.: Ashely M. Chan
   dba Hot Rod Motors and Lars Group,Inc.                         :

  Debtor(s)
-------------------------------------------------------------------X

                                       CERTIFICATE OF SERVICE

          On _________________,
                 July 11, 2024  I,            Lauren M. Moyer, Esq        , caused to be served a true copy

 of the annexed NOTICE OF PAYMENT CHANGE by mailing the same by First Class Mail

 in a sealed envelope, with postage prepaid thereon, in a post office or official depository

 of the U.S. Postal Service addressed to the last known address of the addressee, and the

 property address as indicated on the attached Service List annexed hereto.




                                                               By: /s/ Lauren M. Moyer, Esq
                                                               FRIEDMAN VARTOLO LLP
                                                               1325 Franklin Avenue, Suite 160
                                                               Garden City, New York 11530
                                                               T: (212) 471-5100
                                                               F: (212) 471-5150
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                             SERVICE BY FIRST-CLASS MAIL

HENRY BEDFORD
aka Andrei Losev
dba Hot Rod Motors and Lars Group,Inc.
66 Carmelita Drive
Richboro, PA 18954
Debtor

                                      SERVICE BY NEF

MICHAEL I. ASSAD
Cibik Law, P.C.
1500 Walnut St
Ste 900
Philadelphia, PA 19102
Debtor’s Attorney

KENNETH E. WEST
Office of the Chapter 13 Standing Trustee
1234 Market Street - Suite 1813
Philadelphia, PA 19107
Trustee

UNITED STATES TRUSTEE
Office of the U.S. Trustee
Robert N.C. Nix Federal Building
Suite 320
Philadelphia, PA 19107
U.S. Trustee
